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                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF INDIANA
                                         INDIANAPOLIS DIVISION

IN RE:                                                             CASE NO.19-04350-RLM-13
JASON RAY GISELBACH
DEBTOR(S)
                                               AMENDED
                                      TRUSTEE'S MOTION TO DISMISS
                                   WITH NOTICE OF OBJECTION DEADLINE

       Comes now, Ann M. DeLaney, Trustee herein, and moves the Court to enter an order dismissing the
above referenced Chapter 13 proceeding for the reason(s):

                Delinquent in plan payments to the Trustee & Failure to submit 2020 Tax
                Return & half refund.




         Parties are hereby notified that any objection to this Motion must be filed with the Court within twenty-one
(21) days from the date of service. Objections must be filed either electronically (for those who are authorized ECF
filers) or by delivery to the Clerk’s Office, by mail or in person at United States Bankruptcy Court, Room 116, Birch
Bayh Federal Building and United States Courthouse, 46 E. Ohio Street, Indianapolis, Indiana 46204. The objection
must be served on the trustee, the debtors, and any attorney for the debtor(s). If no objection is timely filed, an order
may be entered by the Court for the relief requested.
must occur before the deadline for filing an objection, stated above.

                                                        Respectfully submitted,

DATE:May 27, 2021
                                                        /s/Ann DeLaney
                                                        Ann DeLaney
                                                        P.O. Box 441285
                                                        Indianapolis, IN 46244
                                                        Telephone: (317) 829-7360
                                                        Facsimile: (317) 829-7369
                                                        Email:anndelaney341@trustee13.com

                                                Certificate of Service

       I do hereby certify that a copy of the foregoing Trustee's Motion to Dismiss has been duly served
upon the following individuals, electronically or by United States mail, first-class postage prepaid, on this
date May 27, 2021:

U.S. Trustee via electronic mail

TOM SCOTT & ASSOCIATES via electronic mail

JASON RAY GISELBACH: 9886 COMMONWEALTH DRIVE, FISHERS, IN 46038

                                                                   /s/Ann DeLaney
                                                                   Ann DeLaney
